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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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                                                            :
In re                                                       :
                                                            :
RENEE MASLIKHOV                                             :   Chapter 11
                                                            :
aka RENEE BUTLER                                            :   Case No. 19-42688 (CEC)
                                                            :
                   Debtor.                                  :
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     AMENDED PROPOSED ORDER ALLOWING PARTIAL DISURSEMENT TO THE
      DEBTOR AND THE PAYMENT OF THE UNITED STATES TRUSTEE’S FEES

         Ms. Renee Maslikhov aka Renee Butler (the “Debtor”), having filed her Second

Amended Disclosure Statement and Second Amended Plan of Reorganization dated October 15,

2019 in the above-captioned chapter 11 case [ECF No. 63, 64]; and due notice having been

given under the circumstances; and a combined hearing on the approval of the Second Disclosure

Statement and confirmation of the Second Plan having been held on October 16, 2019 and that

the requirements for confirmation of the Plan set forth in 11 U.S.C. 1129(a) have been satisfied

at the Hearing and upon the record of the Hearing and the proceedings, the Court having entered

an order confirming the Second Disclosure Statement and Second Plan, entailing sale of the real

property, located at 328 Jefferson Avenue, Brooklyn New York (the “Real Property”); and the

the Court having found: (a) that the proposed sale of the Debtor’s Real Property under the Plan

is an arms-length transaction, noncollusive, fair and reasonable, and conducted openly and in

good faith in accordance), and is in the best interests of the Debtor, the estate and creditors; (b)

and thus Real Property having been sold for a sum of $1,850,000; and there being enough

surplus to pay off the creditors; and the Court having conducted a status conference on April 1,

2020 wherein the Debtor personally appearing and having requested an immediate payment of
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$100,000, wherein the parties having heard all the parties, and based upon the filed claims in

this case, it is hereby:

        Ordered the escrow agent, Law Offices of Denrick Cooper shall mail payments to the

Debtor of a sum of $100,000 and sums owed to the United States trustee fees $13,596.38 owed as

of the disbursement of this stated sum to the Debtor; it is further

        Ordered that Law Offices of Denrick Cooper shall notify the Court of such payments

having been made within 3 days of mailing of the payments.

        This Court shall retain jurisdiction to hear and determine all matters arising from or related

to the interpretation and/or implementation of this Order.

Dated: April ___2020
Brooklyn New York

                                                                     _______________________
                                                                               Hon. Carla E. Craig
                                                      Chief Judge, United States Bankruptcy Court
